   Case 3:19-cv-00764-X Document 41 Filed 03/01/19                  Page 1 of 2 PageID 652


                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF IOWA
                                         CENTRAL DIVISION

 VEROBLUE FARMS USA, INC.                                 )
                                                          )
                                             Plaintiff,   )
                                                          )   Case No. 18-CV-3047
                          v.                              )
                                                          )
 LESLIE A. WULF, BRUCE A. HALL,                           )
 JAMES REA, JOHN E. REA, and                              )
 KEITH DRIVER,                                            )
                                                          )
                                         Defendants.      )

                      MOTION TO QUASH SUBPOENAS,
             OR, IN THE ALTERNATIVE, FOR PROTECTIVE ORDER

       Pursuant to Federal Rules of Civil Procedure 45(d)(3) and 26(c) and Local Rule 7(d),

Nonparties Grace Nelson, Mark Nelson, Jeff Nelson, Jerita Nelson, Korrine Nelson, and SNB

Farms Partnership (collectively, the “Nonparties”), respectfully jointly submit this Motion to

Quash Subpoenas noticed by Plaintiff VeroBlue Farms USA, Inc. (“VBF”). In the alternative,

Nonparties respectfully request a protective order. Pursuant to Local Rule 7(d), a brief setting

forth the grounds for the motion and citations to authorities is submitted with this motion.

       Pursuant to Local Rule 7(k), undersigned counsel left a voicemail message for VBF’s

counsel, Robert H. Lang on the morning of March 1, 2019, seeking to personally confer in good

faith in advance of this filing. Undersigned counsel subsequently sent an email to Mr. Lang to

document that request. As of this filing, undersigned counsel has not received communication in

response to that request.

       WHEREFORE, for the reasons articulated in the accompanying brief, Nonparties request

the Court quash the Subpoenas or, alternatively, enter a Protective Order.




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     Case 3:19-cv-00764-X Document 41 Filed 03/01/19                            Page 2 of 2 PageID 653


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                                                             PARTNERSHIP




               CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true copy of this
document was served upon the persons listed on this
document at the addresses indicated by CM/ECF electronic
notification or by enclosing the same in an envelope with
postage fully paid and by depositing said envelope in a
United States Post Office depository this 1st day of March,
2019. I declare under penalty of perjury that the foregoing is
true and correct.


                                /s/ Chanda Clark




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